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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE: CASES FILED BY PRO SE PLAINTIFFS
                                                                               24MC127
 THIS MATTER RELATES TO: Duty of Self-
                                                                    STANDING ORDER M10-468
 Represented Parties to Keep Address Information
 Current


       To ensure that all cases heard in the Southern District of New York are handled

promptly and efficiently, all parties must keep the court apprised of any new contact

information. It is a party’s obligation to provide an address for service; service of court

orders cannot be accomplished if a party does not update the court when a change of address

occurs. Accordingly, all self-represented litigants are hereby ORDERED to inform the

court of each change in their address or electronic contact information.

       Parties may consent to electronic service to receive notifications of court filings by

email, rather than relying on regular mail delivery. Parties may also ask the court for

permission to file documents electronically. Forms, including instructions for consenting to

electronic service and requesting permission to file documents electronically, may be found

by clicking on the hyperlinks in this order, or by accessing the forms on the court’s website,

nysd.uscourts.gov/forms.

       The procedures that follow apply only to cases filed by pro se plaintiffs. If the court

receives notice from the United States Postal Service that an order has been returned to the

court, or otherwise receives information that the address of record for a self-represented

plaintiff is no longer valid, the court may issue an Order to Show Cause why the case should

not be dismissed without prejudice for failure to comply with this order. Such order will be

sent to the plaintiff’s last known address and will also be viewable on the court’s electronic
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docket.

       A notice directing the parties’ attention to this order shall be docketed (and mailed to

any self-represented party that has appeared and has not consented to electronic service)

upon the opening of each case or miscellaneous matter that is classified as pro se in the

court’s records.

  SO ORDERED. Dated:

           March 18, 2024
           New York, New York

                                                       LAURA TAYLOR SWAIN
                                                     Chief United States District Judge




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